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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 10-80779-CIV-ZLOCH



  ACCESS 4 ALL, INC. and
  JOE HOUSTON,

             Plaintiffs,

  vs.                                            O R D E R

  PARTNERS OF KINGS POINT,
  LTD.,

             Defendant.
                               /

        THIS MATTER is before the Court upon the Defendant Partners of

  Kings Point, Ltd.’s Verified Motion For Attorney’s Fees And Costs

  (DE 83).   The Court has carefully reviewed said Motion, the entire

  Court file herein, and is otherwise fully advised in the premises.

        Plaintiffs Access 4 All, Inc. and Joe Houston initiated the

  above-styled cause against Defendant Partners of Kings Point, Ltd.

  by the filing of a Complaint (DE 1) alleging various violations of

  the Americans With Disabilities Act (hereinafter “ADA”), 42 U.S.C.

  § 12101, et seq.     The Court ultimately dismissed the above-styled

  cause, without prejudice, due to Plaintiffs’ lack of standing. See

  DE 77.   By the instant Motion (DE 83), Defendant Partners of Kings

  Point, Ltd. moves to recover the attorney’s fees and costs it

  incurred in defending this action.

        Attorney’s fees and costs may be awarded to a prevailing

  defendant under the ADA when the Court finds that the plaintiff’s
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  action was “frivolous, unreasonable, or without foundation.”            See

  Christianburg Garment Co. v. EEOC, 434 U.S. 412, 421 (1978) (Title

  VII); Bruce v. City of Gainesville, Georgia, 177 F.3d 949, 951-52

  (11th Cir. 1999) (ADA).       In making this determination, the Court

  considers (1) whether the plaintiff established a prima facie case;

  (2) whether the defendant offered to settle the case; and (3)

  whether the case was dismissed prior to trial or a trial was held

  on the merits of the claim.          Sullivan v. School Bd. of Pinellas

  County, 773 F.2d 1182, 1189 (11th Cir. 1985); Bruce, 177 F.3d at

  952.   As the Eleventh Circuit noted in Sullivan, however, “[w]hile

  these general guidelines can be discerned from the case law, they

  are    general   guidelines   only    and   not   hard   and   fast   rules.

  Determinations regarding frivolity are to be made on a case-by-case

  basis.”    773 F.2d at 1189.

         Prior to undertaking the analysis set forth in Sullivan,

  however, the Court must first be satisfied that the party seeking

  fees and costs is indeed the “prevailing party” under the ADA.           The

  Supreme Court has articulated two circumstances under which a party

  may be considered a “prevailing party” for the purpose of awarding

  attorney’s fees: (1) where there has been an enforceable judgment

  on the merits; or (2) where there has been a settlement agreement

  enforceable through a court-ordered consent decree. Buckhannon Bd.

  & Care Home, Inc. v. West Virginia Dep’t of Health & Human

  Resources, 532 U.S. 598, 603-04 (2002).           In Buckhannon, the Court


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  explained    that   “enforceable         judgments     on    the     merits     and

  court-ordered consent decrees create the ‘material alteration of

  the legal relationship of the parties’ necessary to permit an award

  of attorney's fees.” Id. at 604. Thus, there is no “prevailing

  party” unless there is a corresponding and material alteration in

  the legal relationship of the parties.           Id. at 605.

        Here, the above-styled cause was dismissed for Plaintiffs’

  lack of standing.        Unlike a case resolved by a judgment on the

  merits or a court-ordered consent decree, there is no “material

  alternation of the legal relationship” between the parties where,

  as here, a case has been dismissed for a jurisdictional reason such

  as lack of standing.        A dismissal for lack of standing is not the

  functional equivalent of either a judgment on the merits or a

  court-ordered     consent     decree,    such   that   it    would    entitle     a

  defendant to an award of costs and fees as a prevailing party under

  the ADA.    See Fed. R. Civ. P. 41(b) (noting that all dismissals

  operate as judgments on the merits except dismissals for lack of

  jurisdiction, improper venue, or failure to join a party).                      See

  also Feezor v. Lopez De-Jesus, 439 F. Supp. 2d 1109, 1110-11 (S.D.

  Cal. 2006) (citation omitted).

        By the instant Motion, Defendant also moves for its costs

  under   Federal   Rule   of   Civil     Procedure    68,    which    provides    as

  follows: “[i]f the judgment that the offeree finally obtains is not

  more favorable than the unaccepted offer, the offeree must pay the


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  costs incurred after the offer was made.”         Fed. R. Civ. P. 68(d).

  But Rule 68 provides no relief to Defendant, as neither party

  ultimately obtained a judgment in this case.

        Upon review of the entire court file herein, the Court finds

  that the Defendant has failed to establish its entitlement to

  attorney’s fees and costs.      Specifically, because Defendant is not

  a prevailing party in this case, it is not entitled to an award of

  attorney’s fees and costs under the ADA or on any other basis.

        Accordingly, after due consideration, it is

        ORDERED AND ADJUDGED that Defendant Partners of Kings Point,

  Ltd.’s Verified Motion For Attorney’s Fees And Costs (DE 83) be and

  the same is hereby DENIED.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward

  County, Florida, this         8th         day of March, 2012.




                                            WILLIAM J. ZLOCH
                                            United States District Judge

  Copies furnished:

  All Counsel of Record




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